 

 

Case 5:08-po-15329-.]R| Document 1 Filed 02/26/08 Page 1 of 5

UNITED STATES DISTRICT COURT
SOUTHERN DlSTR|CT OF CAL|FORN|A

United States of America

JUDGMENT lN A CR|M|NAL CASE

V_ ' (For Offenses Committed on or After November 1, 1987)
Jose Hernandez NO. 08'15329'001M'SD
Citizen of l\/lexico l-Oma SP€"C€F (AFPD)

Attorney for Defendant

USl\/l#: 74784-208 DOBZ 1988 lCE#Z A88 764 232

THE DEFENDANT ENTERED A PLEA OF guilty on 2/26/2008 to Count ONE Of the Complaint.

ACCORD|NGLY, THE COURT HAS ADJUD|CATED THAT THE DEFENDANT |S GU|LTY OF THE
FOLLOW|NG OFFENSE(S): violating Title 8, USC § 1325, ||lega| Entry, a Petty offense, as charged
in Count ONE of the Comp|aint.

|T lS THE JUDGMENT OF THE COURT THAT the defendant is hereby committed to the custody
of the Bureau of Prisons for a term of FlFTEEN (15) DAYS on Count ONE, with credit for time
served.

CR|M|NAL MONETARY PENALT|ES
The defendant shall pay to the C|erk the following total criminal monetary penalties: l

SPEC|ALASSESSMENT: $Remitted FlNE: $ REST|TUT|ON: $

lf incarcerated, payment of criminal monetary penalties are due during imprisonment at a rate of not less than $25 per quarter
and payment shall be made through the Bureau of Prisons' inmate Financia| Responsibi|ity Program. Criminal monetary
payments shall be made to the C|erk of U S District Court, Attention: Finance 880 Front Street, San Diego, Ca|ifornia
92101. Payments should be credited to the various monetary penalties imposed by the Court in the priority established under
18 U S. C. § 3612(0 ). The total special assessment of $Remitted shall be paid pursuant to Title 18, United States Code,
Sectlon 3013 for Count ONE of the Cornplaint. .

Any unpaid balance shall become a condition of supervision and shall be paid within prior to the expiration of supervision.
Until all restitutions, fines, special assessments and costs are fully paid, the defendant shall immediately notifythe Clerk, U.S.
District Court, of any change in name and address. The Court hereby waives the imposition of interest and penalties on any
unpaid balances. '

|T |S FURTHER ORDERED that the C|erk of the Court deliver two certified copies of thisjudgment
to the United States l\/larsha| of this district.

The Court orders commitment to the custody of the Bureau of Prisons.
The defendant is remanded to the custody of the United States l\/larsha|.

 

 

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USA vs. Jose Hernandez

~ newlsz Tuesday, February 26, 2008

  
 
 

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- Date 2/26/2008
d . |RW|N `United States Magistrate Judge
\ RETuRN
| have execute his` 'udgment as follows:
Defendant delivered o " to at ,the institution

 

designated by the Bureau of Prisons, with a certified copy of this judgment in a Criminal case.

By:
United States Marsha| Deputy Marsha|
08-153|29-001|\/l-SD -

 

 

 

’UNrTEb STATES DIST§§I@$€IIB'IQBFDO'l5329-JR| DOCUm€m 1 Fll€@l 02/26/03 PaMA&l@i§ATE JUDGE's MINUTES
SOUTHERN DISTRICT oF CALIFoRNlA - Yuma

DATE: 2/26/2008 CASE NUMBER: 08-15329-001M-SD

PLEA/SENTENCING MINUTES
USA vs. Jose Hernandez

U.S. MAGISTRATE JUDGE: JAY R. IRWIN Judge #: 70BK
U.S. Attorney INTERPRETER REQ’D Marcia Resler

LANGUAGE: Spanish
Attorney for Defendant Lorna Spencer (AFPDL
DEFENDANT: § PRESENT l:l NOT PRESENT [:_l RELEASED g CUSTODY

DOA 2/24/08 g Complaint Filed g Appointment of counsel hearing held
E| FinancialAfdvrcaken § No FinancialAfdvccaken l:l Financiai Afdvc sealed
g Initial Appearance

DETENTION HEARING; l:] He1d l:l Com'd l:l Resec l:l UA
Set for: before:

l:l Defendant ordered temporarily detained in the custody of the United States Marshal
El Defendant ordered released (see order setting cond of rel) [:l Bail set at $
l:l Defendant continued detained pending trial l:l Flight Risk l:l Danger

PLEA HEARING; E Held l:] com'd [| Reser
Setfor: before:

m Consent to be tried by a Magistrate Judge signed l:l Class A Misd l:l Class B Misd l:l Class C Misd
El Consent of Defendant l:l Information filed l:l Complaint filed
g Defendant sworn and examined by the Court g Plea of Guilty l:l Not Guilty § Entered to Counts ONE
ij Defendant states true name to be __. Further proceedings ORDERED in defendant's true name.

g Plea of Guilty entered as to Ct(s) ONE of the l:l Information l:l Indictment g Complaint

g Court recomrnends/or accepts defendant's plea and finds plea to be freely and voluntarily given.

l:l Plea agreement: I:lLodged l:l Filed l:l Sealed

l:l Court does not accept defendant‘s plea of guilty because
El PSI ORDERED l:l EXPEDITED g PSI waived l:l Time waived for passage of sentence
El Continued for sentence to __ before
l:] To be dismissed upon entry of the judgment, Ct(s) _

g ORDER vacate trial date/motion hearing/mms moot

m ORDER defendant remain released pending sentence ® remanded to USM

SENTENCING:

E Defendant committed to Bureau of Prisons for a period of 15 days l-_-l PrObatiOn/Supervised Release for
E Special Assessment $ REMITTEDl l:l Fine $ l:l Restitution $

Other:

 

 

 

 

 

 

RECORDED: CS
BY: Angela J. Tuohy, Deputy Clerk

 

 

 

 

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United States District Court

SOUTHERN DISTRICT OF CALIFORNIA

 

uNITED sTATEs oF AMERICA _
v;
Jose HERNANDEZ_ - CRIMINAL COMPLAINT

Citizen of Nlexico

YOB; 1988 _. cAsE NUMBER; 087- /53 Z€Hm
A88 764 232
illegal A|ien

l, the undersigned complainant being duly sworn state the following is true and correct to the
best of my knowledge and beiief.

COUNT l

That on or about February 24, 2008, near Andrade, California in the Southern District of
California, Defendant Jose HERNANDEZ-, an alien, did knowingly and willfully enter the United
States at a time or place other than as designated by immigration Officers of the United States
of America, in violation of Title 8, United States Codel Section 1325 (l\/iisdemeanor).

Continued on the attached sheet and made a part hereof. Yes Ei No k \/\/\

l\l/lwitiilr\t
Signature ofCom laiHanl' l \"
Nicholas Kingston

Senior Patrol Agent

 
  
   
 
  

Sworn to before me and subscribed in my presence,

t February 26, 2008 Yuma, Ari_zona
6 ' .

Da \

 

 

Jay R. irwinl U.S. l\/lagistrate
amB l EO U lCIB lCel'

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STATEMENT OF FACTUAL BAS|S
Defendant: Jose HERNANDEZ-
Dependents: 1 l\/lexican

|MM|GRATIQN HlSTORY: The Defendant is an illegal alien.

CR|M|NAL HlSTORY: None found.
DATE LOCAT|ON 0FFENSE D|SPOSlT|ON
Narrative: The Defendant, a citizen of ll/iexico and illegally within the United States, was

encountered by Yuma Border Patroi agents near Andrade, California.

The Defendant was questioned as to his citizenship and immigration status.
Agents determined that the Defendant is an undocumented Nationa| of Mexico
and illegally in the United States.

 

The Defendant was transported to the Yuma station for processing During
processing, questioning and computer record checks the above criminal and
immigration information was obtained as it relates to this Defendant.

The Defendant is being presented for prosecution proceedings under
“0peration Stream|ine.” The Defendant entered the United States from
Mexico through a designated “zero tolerance zone."

The Defendant last entered the United States illegally without inspection near
Andrade, California on February 24, 2008.

Charges: 8 USC§1325 (Nlisdemeanor)

/i\l/l/Al/iil il

Signallure of%grrllplalriari't

 
     
    
 

Sworn to before me and subscribed in my presence,

February 2612008

 

Date Signature o udicial Ofiicer

 

 

